     Case 2:85-cv-04544-DMG-AGR Document 1285 Filed 09/08/22 Page 1 of 4 Page ID
                                     #:47937



 1   CENTER FOR HUMAN RIGHTS &
 2   CONSTITUTIONAL LAW
     Carlos Holguín (Cal. Bar No. 90754)
 3   256 South Occidental Boulevard
 4   Los Angeles, CA 90057
     Telephone: (213) 388-8693
 5   Facsimile: (213) 386-9484
 6   Email: crholguin@centerforhumanrights.email
 7   Attorneys for Plaintiffs
     (Additional counsel listed on next page)
 8
 9
10                        UNITED STATES DISTRICT COURT
11                      CENTRAL DISTRICT OF CALIFORNIA
12                                 WESTERN DIVISION
13
14
      JENNY LISETTE FLORES., et al.,            Case No. CV 85-4544-DMG-AGRx
15
16                   Plaintiffs,                JOINT REPORT RE NO CLASS
                                                MEMBER OBJECTIONS TO
17          v.                                  SETTLEMENT ON EMERGENCY
18                                              INTAKE SITES
      MERRICK B. GARLAND, Attorney
19    General of the United States, et al.,     Hearing Date: Sept. 23, 2022
20                                              Time:         10:00 a.m.
                     Defendants.
21                                              HON. DOLLY M. GEE
22
23
24
25
26
27
28
     Case 2:85-cv-04544-DMG-AGR Document 1285 Filed 09/08/22 Page 2 of 4 Page ID
                                     #:47938



 1   NATIONAL CENTER FOR YOUTH LAW
 2   Neha Desai (Cal. RLSA No. 803161)
     Mishan Wroe (Cal. Bar No. 299296)
 3   Melissa Adamson (Cal. Bar No. 319201)
 4   Diane de Gramont (Cal. Bar No. 324360)
     1212 Broadway, Suite 600, Oakland, CA 94612
 5   Telephone: (510) 835-8098
 6   Email: ndesai@youthlaw.org
 7
     CHILDREN’S RIGHTS
 8   Leecia Welch (Cal. Bar No. 208741)
 9   88 Pine Street, Suite 800, New York, NY 10005
     Telephone: (212) 683-2210
10   Email: lwelch@childrensrights.org
11   Attorneys for Plaintiffs
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                       JOINT REPORT RE NO CLASS MEMBER
                                                       OBJECTIONS TO SETTLEMENT ON EISs
                                                                   CV 85-4544-DMG-AGRX
     Case 2:85-cv-04544-DMG-AGR Document 1285 Filed 09/08/22 Page 3 of 4 Page ID
                                     #:47939



 1         On August 9, 2021, Plaintiffs filed a Motion to Enforce Settlement re
 2   Emergency Intake Sites (“Motion to Enforce”). [Doc. # 1161]. The parties reached
 3   a settlement agreement (“Agreement”) to resolve Plaintiffs’ Motion to Enforce. See
 4   Joint Motion for Preliminary Approval of Settlement Agreement and Approval of
 5   Class Notice of Settlement (“Joint Motion”) [Doc. # 1256].
 6         Upon consideration of the parties’ Joint Motion, the Court preliminarily
 7   approved the parties’ Agreement and approved the notice of the proposed
 8   Agreement to Flores class members (“Notice”) in accordance with Federal Rule of
 9   Civil Procedure 23(e). [Doc. # 1258]. The Court set—and the parties have complied
10   with—the following schedule for notice and final approval:
11         On July 8 and 11, 2022, Plaintiffs provided Defendants a copy of the
12   approved Notice in Spanish and English, respectively.
13         On July 28, 2022, Defendants posted copies of the approved Notice in
14   English and Spanish on ORR’s website. Defendants notified Plaintiffs’ counsel in
15   writing when the Notices were posted and provided a link to the posted Notice. The
16   notice period is thirty (30) days in duration and any objections must be postmarked
17   by August 27, 2022.
18         On August 29, 2022, Plaintiffs’ counsel notified the Court that no objections
19   had been received.
20         The Court further ordered Plaintiffs and Defendants to file a joint report by
21   September 8, 2022, regarding any objections timely postmarked but not yet
22   received.
23         As of the date of this filing, Plaintiffs’ counsel has not received any
24   objections to the Agreement. Defendants join in this filing to confirm that they are
25   similarly not aware of any objections to the Agreement.
26
27   Dated: September 8, 2022:              Respectfully submitted,

28
                                           /s/ Mishan Wroe
                                               1
                                                             JOINT REPORT RE NO CLASS MEMBER
                                                             OBJECTIONS TO SETTLEMENT ON EISs
                                                                          CV 85-4544-DMG-AGRX
     Case 2:85-cv-04544-DMG-AGR Document 1285 Filed 09/08/22 Page 4 of 4 Page ID
                                     #:47940



 1                                     Mishan Wroe
 2
                                       CENTER FOR HUMAN RIGHTS AND
 3                                     CONSTITUTIONAL LAW
 4                                     Carlos R. Holguín
 5                                     NATIONAL CENTER FOR YOUTH LAW
 6                                     Neha Desai
                                       Mishan Wroe
 7
                                       Melissa Adamson
 8                                     Diane de Gramont
 9
                                       CHILDREN’S RIGHTS
10                                     Leecia Welch
11                                     Attorneys for Plaintiffs
12
13                                     /s/ Sarah Fabian
14                                     Sarah B. Fabian
                                       Senior Litigation Counsel
15                                     U.S. Department of Justice
16                                     Office of Immigration Litigation
                                       Attorneys for Defendants
17
18
19
20
21
22
23
24
25
26
27
28

                                          2
                                                        JOINT REPORT RE NO CLASS MEMBER
                                                        OBJECTIONS TO SETTLEMENT ON EISs
                                                                     CV 85-4544-DMG-AGRX
